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    Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &      FOR COURT USE ONLY
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    Matthew D. Resnik (Bar No. 182562)
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    matt@RHMFirm.com




         Individual appearing without an attorney
         Attorney for: Professional Robert Hindin

                                             UNITED STATES BANKRUPTCY COURT
                                   CENTRAL DISTRICT OF CALIFORNIA – SAN FERNANDO DIVISION

    In re:                                                                      CASE NO.: 1:15-bk-13134-MB
                                                                                CHAPTER: 7


    MOHAMMAD S. NAMAZIKHAH,                                                     NOTICE OF LODGMENT OF ORDER IN
                                                                                BANKRUPTCY CASE RE: (title of motion 1):
                                                                                ORDER APPROVING STIPULATION AND CONTINUING
                                                                                HEARING ON FIRST AND FINAL APPLICATION BY ROBERT
                                                                                HINDIN & ASSOCIATES, APLC, A PERSONAL INJURY LAW
                                                                                FIRM, FOR ALLOWANCE OF FEES AND REIMBURSEMENT
                                                                  Debtor(s)     OF COSTS FOR LITIGATING DEBTOR’S PERSONAL INJURY
                                                                                CLAIMS



PLEASE TAKE NOTE that the order titled      ORDER APPROVING STIPULATION AND CONTINUING HEARING ON FIRST
AND FINAL APPLICATION BY ROBERT HINDIN & ASSOCIATES, APLC, A PERSONAL INJURY LAW FIRM, FOR
ALLOWANCE OF FEES AND REIMBURSEMENT OF COSTS FOR LITIGATING DEBTOR’S PERSONAL INJURY
CLAIM
was lodged on (date) 01/03/2022 and is attached. This order relates to the motion which is docket number 564.




1
    Please abbreviate if title cannot fit into text field.

             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2012                                                         Page 1                        F 9021-1.2.BK.NOTICE.LODGMENT
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                   M. Jonathan Hayes (Bar No. 90388)
               1   Matthew D. Resnik (Bar No. 182562)
                   RESNIK HAYES MORADI LLP
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                   matt@RHMFirm.com
               5
                   Attorneys for Professional
               6   Robert Hindin
               7
                                       UNITED STATES BANKRUPTCY COURT
               8
                                           CENTRAL DISTRICT OF CALIFORNIA
               9
                                                SAN FERNANDO DIVISION
              10
                                                 )           Case No. 1:15-bk-13134-MB
              11 In re                           )
                                                 )           Chapter 7
              12                                 )
                                                 )           ORDER APPROVING STIPULATION
              13     MOHAMMAD S. NAMAZIKHAH,     )           AND CONTINUING HEARING ON
                                                 )           FIRST AND FINAL APPLICATION
              14                                 )           BY ROBERT HINDIN &
                                                 )           ASSOCIATES, APLC, A PERSONAL
              15                         Debtor. )           INJURY LAW FIRM, FOR
                                                 )           ALLOWANCE OF FEES AND
              16                                 )           REIMBURSEMENT OF COSTS FOR
                                                 )           LITIGATING DEBTOR’S PERSONAL
              17                                 )           INJURY CLAIMS
                                                 )
              18                                 )           New Hearing Date
                                                 )           Date: February 16, 2022
              19                                 )           Time: 1:30 p.m.
                                                 )           Place: 21041 Burbank Boulevard
              20                                 )                  Woodland Hills, CA 91367
                                                 )                  Crtrm 303
              21                                 )
                                                 )           Original Hearing Date
              22                                 )           Date: January 19, 2022
                                                 )           Time: 1:30 p.m.
              23                                 )           Place: 21041 Burbank Boulevard
                                                 )                  Woodland Hills, CA 91367
              24                                                    Crtrm 303
              25
              26         The court having reviewed the STIPULATION TO CONTINUE HEARING ON
              27 FIRST AND FINAL APPLICATION BY ROBERT HINDIN & ASSOCIATES,
              28 APLC, A PERSONAL INJURY LAW FIRM, FOR ALLOWANCE OF FEES AND



 NIK HAYES
ORADI LLP
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                    REIMBURSEMENT OF COSTS FOR LITIGATING DEBTOR’S PERSONAL
                1
                    INJURY CLAIMS [Doc 564] between Robert Hindin (“Hindin”) on the one hand, and
                2
                    David Seror, chapter 7 trustee in this matter (the “Trustee”), on the other hand, and good
                3
                    cause appearing:
                4
                5
                           IT IS HEREBY ORDERED:
                6
                           1.     The Stipulation is approved.
                7
                           2.     The hearing on the Hindin Fee Application [Doc 551] is continued to
                8
                    February 16, 2022 at 1:30 p.m. The due dates of responses and replies to the application
                9
                    will be due according to the rules as if the Application had been originally set for February
               10
                    16, 2022.
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                                                 ###
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RESNIK HAYES
 MORADI LLP
                                                                 20
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                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

17609 Ventura Blvd., Suite 314, Encino, CA 91316

A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER IN BANKRUPTCY
CASE will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and
(b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
____1/4/2022___________, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email
addresses stated below:




                                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) ___1/4/2022____________, I served the following persons and/or
entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy
thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the
judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document
is filed.




                                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) ___1/4/2022____________,
I served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.




                                                                                           Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 1/4/2022                         Daniel Lavian                                                /s/ Daniel Lavian
 Date                          Printed Name                                                    Signature




        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):



   •   Eric V Anderton eanderton@catanzarite.com, bphillips@catanzarite.com
   •   Raymond H. Aver ray@averlaw.com,
       averlawfirm@gmail.com;ani@averlaw.com;katya@averlaw.com
   •   Sumit Bode sumit.bode@americaninfosource.com
   •   Theron S Covey theronscovey@hotmail.com, sferry@raslg.com
   •   Dane W Exnowski dane.exnowski@mccalla.com,
       bk.ca@mccalla.com,mccallaecf@ecf.courtdrive.com
   •   Sean C Ferry sferry@raslg.com, sferry@ecf.courtdrive.com
   •   M. Jonathan Hayes jhayes@rhmfirm.com,
       roksana@rhmfirm.com;matt@rhmfirm.com;rosario@rhmfirm.com;pardis@rhmfirm.com;ru
       ss@rhmfirm.com;david@rhmfirm.com;sloan@rhmfirm.com;boshra@rhmfirm.com;rosario
       @rhmfirm.com
   •   Frances M O'Meara fomeara@fmglaw.com,
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   •   Veronica A Pacheco BDBKInquiry@wellsfargo.com, BDBKInquiry@wellsfargo.com
   •   Sheila M Pistone sheila@pistonelawoffice.com, sheilapistone@yahoo.com
   •   David Seror (TR) aquijano@bg.law, C133@ecfcbis.com;mgalvan@bg.law
   •   Najah J Shariff najah.shariff@usdoj.gov, USACAC.criminal@usdoj.gov
   •   United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
   •   Diane Weifenbach diane@attylsi.com, bankruptcy1@attylsi.com
   •   Nancy H Zamora zamora3@aol.com



2. SERVED BY UNITED STATES MAIL:

                                                 PO BOX 6416
1 Touch                                          Carol Stream, IL 60197-5016
370 Amapola Ave, Ste 106
Torrance, CA 90501                               AW Metering
                                                 4431 North Sixie Highway
A&D Fire Sprinklers                              Boca Raton, FL 33431
1601 West Orangewood Ave
Orange, CA 92868                                 Banc of California
                                                 3 MacArthur Place
ADT                                              Santa Ana, CA 92707
P.O. Box 371878
Pittsburgh, PA 15250                             Bank Of America
                                                 Po Box 982238
Agile Insurance                                  El Paso, TX 79998
475 Half Day Road, Suite 550
Lincolnshire, IL 60069                           Cal Water - VDA
                                                 2632 W 237th Street
American Express                                 Torrance, CA 90505
P.O. Box 0001
Los Angeles, CA 90096-8000                       California Waste Services
                                                 621 West 152nd Street
AT&T                                             Gardena, CA 90247
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                                              Riverside, CA 92503
Califronia Access Scaffold-Shoring
331 Vineland Ave                              Harbor Stone Paving
La Puente, CA 91746                           2310 Lomita Blvd
                                              Lomita, CA 90717
Carlson Lath & Plaster
PO BOX 6859                                   Harris & Ruth
Norco, CA 92860                               2107 W San Bernardio Road
                                              West Covina, CA 91790
Carlton & Alberola
23792 Rockfield Blvd #101                     HCI Systems
Lake Forest, CA 92630                         1354 S Parkside Place
                                              Ontario, CA 91761
County Of Los Angeles
5770 S Eastern Ave                            Herron Construction
Commerce, CA 90040                            2101 Maple Privado
                                              Ontario, CA 91761
Crisp Enterprise
3180 Pullman Street                           Hoskins Equipment
Costa Mesa, CA 92626                          1000 S Leslie Street
                                              La Habra, CA 90631
De Lage Landen Financial Svcs
P O Box 41602                                 I.c. System, Inc
Philadelphia, PA 19101                        Po Box 64378
                                              Saint Paul, MN 55164
Emerald Landscape
30100 Town Center Drive, Suite 0 #1           Incledon
Laguna Niguel, CA 92677                       1570 Corporate Drive, A
                                              Costa Mesa, CA 92626
Express Plumbing
7230 Remmet Avenue                            Internal Revenue Service
Canoga Park, CA 91303                         P.O. Box 7346
                                              Philadelphia, PA 19101-7346
Franchise Tax Board
Attn: Bankruptcy Unit                         Jpmcb Auto
P.O. Box 2952                                 700 Kansas Lane
Sacramento, CA 95812-2952                     Monroe, LA 71203

Gelman LLP                                    Jpmcb Card / Southwest
1 Park Plaza Suite 950                        Po Box 15369
Irvine, CA 92614                              Wilmington, DE 19850

Golden State Claims Adjusters                 Jpmcb Card / United
2244 Faraday Ave., #126                       Po Box 15369
Carlsbad, CA 92008                            Wilmington, DE 19850

Google                                        K & S Air Conditioning
1600 Amphitheatre Pkwy                        143 East Meats Ave
Mountain View, CA 94043                       Orange, CA 92865

GTA Drywall                                   Lee & Stires
14329 Dove Canyon Drive                       PO BOX 2124
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Montclair, CA 91763                             Radar Properties
                                                8901 S La Cienega Blvd., #101
Methane Specialist                              Inglewood, CA 90301
5210 Lewis Rd. #1
Agoura Hills, CA 91301                          Reyes Single Ply Roofing Masters Co
                                                516 W Rialto Ave
National Construction Rentals                   Rialto, CA 92376
1045 S Greenwood Ave
Montebello, CA 90640                            S.J. Grigolla
                                                2639 Sierra Way
National Fail Safe                              La Verne, CA 91750
6442 Industry Way
Westminster, CA 92683                           SBA Loan - Covid-19
                                                PO BOX 3918
OC Sandbagger                                   Portland, OR 97208
2424 N Batavia Street
Orange, CA 92865                                Schools First Federal Credit Union
                                                P.O. Box 11547
On Point Plumbing Systems                       Santa Ana, CA 92711-1547
26893 Bouque Cyn Rd. #C219
Saugus, CA 91350                                Schoolsfirst Fcu
                                                Po Box 526001
Onyx Paving                                     Sacramento, CA 95852
2890 E La Cresta Ave
Anaheim, CA 92806                               SDC Millwork
                                                1500 W Cowles Street
PDQ Rentals                                     Long Beach, CA 90813
10826 Shoemaker
Santa Fe Springs, CA 90670                      Selected Marble
                                                1621 Stearns Dr
Pena Demolition and Grading                     Los Angeles, CA 90035
11253 Vinedale Street
Sun Valley, CA 91352                            Showtime Construction
                                                1800 Berkshire Dr
Pension Benefit Guaranty Cor                    Thousand Oaks, CA 91362
Attn: Kem Tae M. Lynch, Esq.
Office of the General Counsel                   Sierra Insulation
1200 K Street, NW                               120 S Wineville Ave
Washington, DC 20005                            Ontario, CA 91761

Pitney Bowes                                    Signtech
PO BOX 371874                                   4444 Federal Blvd
Pittsburgh, PA 15250-7874                       San Diego, CA 92102

Premier Steel Structures                        So Cal Edison
13345 Estelle Street                            PO Box 800
Corona, CA 92879                                Rosemead, CA 91770

R-3 Contractors                                 Spectrum
800 E Orangefair Lane                           PO Box 60074
Anaheim, CA 92801                               City of Industry, CA 91716
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Stanco Signage                                   Garden Grove, CA 92845
1401 E. St. Andrew Place
Santa Ana, CA 92705                              TLC Building Maintenance
                                                 12127 Shady Hollow Court
State Fund                                       Porter Ranch, CA 91326
P.O. Box 7441
San Francisco, CA 94120-7441                     TN Sheet Metal
                                                 18385 Bandilier Circle
Structural Steel Fabricators                     Fountain Valley, CA 92708
10641 Sycamore Ave
Stanton, CA 90680                                Trowe/Fantastic IT
                                                 3720 Skypark Drive
Sunstate Equipment                               Torrance, CA 90505
5552 East Washington Street
Phoenix, AZ 85034                                Vallee Electrical Services
                                                 3716 Park Place
Tait & Associates                                Montrose, CA 91020
701 N Parkcenter
Santa Ana, CA 92705                              Vonage
                                                 23 Main Street
Tetra Graphics                                   Holmdel, NJ 07733
2730 Montery Street
Torrance, CA 90503                               VSP
                                                 3333 Quality Drive
Time Warner Business Class                       Rancho Cordova, CA 95670
PO Box 223085
Pittsburgh, PA 15251                             WilScot
                                                 11811 Greenstone Avenue
TJM Glazing                                      Santa Fe Springs, CA 90670
6291 Santa Rita
